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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

MARINA D. KOLCHINSKY and                      )
LIDIA L. KOLCHINSKY,                          )
                                              )
                       Plaintiffs,            )
         V                                    )
                                              )       No. l:15-cv-10544
WILLIAM G. BENTLEY and                        )
BILL BENTLEY TRUCKING LLC,                    )        Honorable Matthew F. Kennelly
                                              )
                       Defendants             )

                                AMENDED COMPLAINT

       NOW COME Plaintiffs, MARINA D. KOLCHINSKY and LIDIA                               L.

KOLCHINSKY,        by and through their attorneys, Todd R. Korb, of HUPY &
ABRAHAM, and complaining against Defendants, WILLIAM G. BENTLEY and BILL

BENTLEY TRUCKING LLC, state as follows:

                             JURISDICTION AND VENUE

1.     That Subject Matter Jurisdiction is proper pursuant to 28 U.S.C. $ 1332 because

the Plaintiffs and Defendants are domiciled and/or incorporated in different states.

2.     That Venue is present in this District pursuant to 28 U.S.C. $ 1391(bX2).

                                       DOMICILE

l.     That the Plaintift MARINA         D. KOLCHINSKY, is an adult resident           and

domiciled in the City and County of Milwaukee, Wisconsin, currently residing 3287

North Shepard Avenue, Zip Code 53211.

2.     That the Plaintiff, LIDIA L. KOLCHINSKY, is an adult resident and domiciled in
                                       'Wisconsin,
the City and County of Milwaukee,                    currently residing 3287 North Shepard

Avenue, Zip Code 5321I.
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3.       That the Defendant,   WILIAM   G. BENTLEY, is an adult resident and domiciled

in the   Cþ   and County of Denver, Colorado, currently residing 5011 Bryant Street, Zip

Code 80221.

4.       That the Defendant, BILL BENTLEY TRUCKING LLC, is a foreign corporation

otganized, domiciled, and existing under the laws of Colorado, with the mailing address

for its principal place of business located at 5011 Bryant Street, Denver, Colorado, Zip

Code 80221; that the registered agent for the Defendant,   BILL BENTLEY TRUCKING

LLC, is WILLIAM G. BENTLEY, also located at 5011 Bryant Street, Denver, Colorado,

Zip Code 80221; that the Defendant, BILL BENTLEY TRUCKING LLC, employed                 the

Defendant, WILLIAM G. BENTLEY, at the time of the accident described herein; and

that the Defendant, BILL BENTLEY TRUCKING LLC, is a named Defendant herein

pursuant to the theory of Respondeat Superior, in lhat   it is liable for the actions of its

agents and employees while in the course and scope of their employment'

                               COMMON              ATIONS

l.       That the events complained of took place on or about October 5, 2015, in Cook

County, Illinois.

2.       Plaintiff, MARINA D. KOLCHINSKY, was the driver of a motor vehicle

traveling southbound on Interstate 94, at or near its intersection with Old Orchard Road,

in Cook County, Illinois.

3.       PlaintifT,   LIDIA L. KOLCHINSKY, was the         passenger   of a motor vehicle
traveling southbound on Interstate 94, at or near its intersection with Old Orchard Road,

in Cook County, Illinois.




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4.     Defendant,     V/ILLIAM B. BENTLEY, was the driver of a motor vehicle traveling

southbound on Interstate 94, at or near its intersection with Old Orchard Road, in Cook

County, Illinois.

5.      The aforementioned motor vehicle operated by Defendant, V/ILLIAM                     B,

BENTLEY, was owned by Defendant, BILL BENTLEY TRUCKING LLC,

                                             COUNT    I
                    Miriam M. Porush v. Willi@

l. - 5. Plaintifl MARINA D. KOLCHINSKY, repeats and re-alleges Paragraphs                     1



through 5 of Common Allegations and states as follows:

6.      At all times herein, Defendant,     WILIAM        G. BENTLEY, owed a duty to Plaintiff

to exercise reasonable care in the operation of his motor vehicle.

7.      In colliding with Plaintiff    s motor vehicle, Defendant,     WILIAM   G. BENTLEY,

breached his duty to Plaintiff and was guilty of one or more of the following negligent

acts or omissions:

        a)      Failed to decrease the speed of his automobile as necessary to avoid

                colliding with   a   vehicle on said roadway, in violation of 625 ILCS

                sllt-601.

        b)      Followed Plaintifls vehicle more closely than was reasonable and prudent

                given traffrc and conditions of said roadway, in violation of Sec. 1 1-710   of

                the Illinois Vehicle Code, 625 ILCS        5lll-710.

        c)      Failed to keep his automobile under safe and proper control.

        d)      Failed to keep a proper lookout ahead for other motor vehicles.

        e)      Was otherwise negligent.




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8.            As a direct and proximate result of one or more of the acts of negligence of

Defendant, WILLIAM G. BENTLEY, Plaintiff was seriously injured.

9.            Plaintiff, MARINA D. KOLCHINSKY, suffered injuries to her entire body.

Plaintiff, MARINA D. KOLCHINSKY, has endured pain and suffering in the past and

will     have pain and suffering       in the future; she has incurred and will incur       medical

expenses, all as a result of the injuries received.

10.           Plaintiff has lost work wages as a result of the injuries received.

              V/HEREFORE, Plaintift MARINA D, KOLCHINSKY, prays this Honorable

Court:

              1.     That Plaintiff have and recover     a   judgment against Defendant,   WILIAM
                     G. BENTLEY, in an amount in excess of SEVENTY-FIVE THOUSAND

                     DOLLARS ($75,000.00) for personal injuries.

              2.     That the costs of this action be taxed against the Defendant.

              3.     For other and further relief as the Court may deem just and proper.

                                               COUNT         II


l.   -   5.   Plaintift MARINA D. KOLCHINSKY, repeats and re-alleges Paragraphs 1

through 5 of Common Allegations and states as follows:

6.            Defendant,   WILIAM G. BENTLEY, was operating his automobile as an
apparent and/or authorized agent andlor employee of the vehicle owner, Defendant, BILL

BENTLEY TRUCKING LLC.




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7.     At the time of the collision with Plaintiff          as heretofore described, Defendant,

WILLIAM G. BENTLEY, was acting within the scope of his employment with

Defendant, BILL BENTLEY TRUCKING LLC.

8.     At the time of the collision with Plaintiff         as heretofore described, Defendant's,

WILLIAM G. BENTLEY, purpose of travel was for the benefit of Defendant, BILL

BENTLEY TRUCKING LLC, and related to his employment with Defendant, BILL

BENTLEY TRUCKING LLC.

9.     At    said time and place, and at the time of the collision     with Plaintiff   as heretofore

                              'WILLIAM G. BENTLEY, was the permissive driver of
described, the Defendant,                                                                                a


motor vehicle owned by the Defendant, BILL BENTLEY TRUCKING LLC.

10.    Defendant,     WILIAM          G. BENTLEY, was operating said vehicle with the full

knowledge and consent of the vehicle owner, Defendant, BILL BENTLEY TRUCKING

LLC.

11. In colliding with Plaintiffs motor vehicle, Defendant, BILL BENTLEY
TRUCKING LLC, through its agency of Defendant,               WILIAM      G. BENTLEY, breached

its duty to Plaintiff and was guilty of one or more of the following negligent acts or

omissions:

       a)        Failed to decrease the speed of its automobile as necessary to avoid

                 colliding with   a   vehicle on said roadway, in violation of 625 ILCS

                 5llr-601.

       b)        Followed Plaintiff     s   vehicle more closely than was reasonable and prudent

                 given traffic and conditions of said roadway, in violation of Sec.        11   -71 0   of

                 the Illinois Vehicle Code, 625 ILCS       5lll-710.



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         c)     Failed to keep its automobile under safe and proper control.

         d)     Failed to keep a proper lookout ahead for other motor vehicles.

         e)     W'as otherwise negligent.

12.      As a direct and proximate result of one or more of the acts of negligence of

Defendant,    BILL BENTLEY TRUCKING LLC, through its agency of                    Defendant,

WILLIAM G. BENTLEY, Plaintiff was seriously injured.

13.      Plaintiff, MARINA D. KOLCHINSKY, suffered injuries to her entire body.

Plaintiff, MARINA D. KOLCHINSKY, has endured pain and suffering in the past and

will   have pain and suffering    in the future; he has incurred and will incur       medical

expenses, all as a result of the injuries received.

14.      Plaintiff has lost work wages as a result of the injuries received.

         WHEREFORE, Plaintiff, MARINA D. KOLCHINSKY, prays this Honorable

Court:

         1.     That Plaintiff have and recover a judgment against Defendant, BILL

                BENTLEY TRUCKING LLC, in an amount in excess of SEVENTY-

                FIVE THOUSAND DOLLARS ($75,000.00) for personal injuries.

         2.     That the costs of this action be taxed against the Defendant.

         3.     For other and further relief as the Court may deem just and proper.

                                         COUNT        III
                 Lidia L. Kolchinskv v. William G. Bentlev - Neelieence

1.   - 5. Plaintiff, LIDIA L. KOLCHINSKY, repeats and re-alleges        Paragraphs 1 through

5 of Common Allegations and states as follows:




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6.     At all times herein, Defendant, WLLIAM G, BENTLEY, owed                 a duty to   Plaintiff

to exercise reasonable care in the operation of his motor vehicle.

7.     In colliding with Plaintiffls motor vehicle, Defendant,         WILIAM    G. BENTLEY,

breached his duty to Plaintiff and was guilty of one or more of the following negligent

acts or omissions:

       a)      Failed to decrease the speed of his automobile as necessary to avoid

               colliding with      a   vehicle on said roadway, in violation of 625 ILCS

               5/l 1-601.

       b)      Followed Plaintifls vehicle more closely than was reasonable and prudent

               given traf[rc and conditions of said roadway, in violation of Sec. 1 1-710        of

               the Illinois Vehicle Code, 625 ILCS         5lll-710.

       c)      Failed to keep his automobile under safe and proper control.

       d)      Failed to keep a proper lookout ahead for other motor vehicles.

       e)      Was otherwise negligent.

8.     As a direct and proximate result of one or more of the acts of negligence of

Defendant, V/ILLIAM G. BENTLEY, Plaintiff was seriously injured.

9.     Plaintiff, LIDIA L. KOLCHINSKY, suffered injuries to her leg, back, neck, head,

and other parts of her body. Plaintiff,        LIDIA L. KOLCHINSKY, has endured pain           and

suffering in the past and   will   have pain and suffering in the future; she has incurred and

will incur medical expenses, all as a result of the injuries received.

10.    Plaintiff has lost work wages as a result of the injuries received.

       WHEREFORE, Plaintift LIDIA L. KOLCHINSKY, prays this Honorable Court:




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            1        That Plaintiff have and recover    a   judgment against Defendant,   WILIAM
                     G. BENTLEY, in an amount in excess of SEVENTY-FIVE THOUSAND

                     DOLLARS ($75,000.00) for personal injuries.

            2.       That the costs of this action be taxed against the Defendant.

            J        For other and further relief as the Court may deem just and proper.

                                              COUNT         IV

        Lidia L. Kolchinskv v. Bill Bentlev Truckins LLC              -   Resoondeat Sunerior

1. -   5.   Plaintiff, LIDIA L. KOLCHINSKY, repeats and re-alleges Paragraphs             1   through

5 of Common Allegations and states as follows:

6.          Defendant,    WILIAM G. BENTLEY, was operating his automobile as an
apparent and/or authorized agent and/or employee of the vehicle owner, Defendant, BILL

BENTLEY TRUCKING LLC.

7.          At the time of the collision with Plaintiff as heretofore described, Defendant,

WILLIAM G. BENTLEY, was acting within the scope of his employment with

Defendant, BILL BENTLEY TRUCKING LLC.

8.          At the time of the collision with Plaintiff as heretofore described, Defendant's,

WILLIAM G. BENTLEY, purpose of travel was for the benefit of Defendant, BILL

BENTLEY TRUCKING LLC, and related to his employment with Defendant, BILL

BENTLEY TRUCKING LLC.

9.          At   said time and place, and at the time of the collision with Plaintiff as heretofore

described, the Defendant,         WILLIAM G. BENTLEY, was the permissive driver of                 a


motor vehicle owned by the Defendant, BILL BENTLEY TRUCKING LLC.




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10.    Defendant, WILLIAM G. BENTLEY, was operating said vehicle with the full

knowledge and consent of the vehicle owner, Defendant, BILL BENTLEY TRUCKING

LLC,

11. In colliding with Plaintiffs motor vehicle, Defendant, BILL BENTLEY
TRUCKING LLC, through its agency of Defendant, WILLIAM G. BENTLEY, breached

its duty to Plaintiff and was guilty of one or more of the following negligent acts or

omrsslons:

       a)      Failed to decrease the speed of its automobile as necessary to avoid

               colliding with   a   vehicle on said roadway, in violation of 625 ILCS

               5/1 1-601.

       b)      Followed Plaintifls vehicle more closely than was reasonable and prudent

               giventraffrc and conditions of said roadway,inviolation of Sec. 11-710 of

               the Illinois Vehicle Code, 625 ILCS 5lII-710.

       c)      Failed to keep its automobile under safe and proper control.

       d)      Failed to keep a proper lookout ahead for other motor vehicles.

       e)      Was otherwise negligent.

12.    As a direct and proximate result of one or more of the acts of negligence of

Defendant,   BILL BENTLEY TRUCKING LLC, through its agency of                      Defendant,

WILLIAM G. BENTLEY, Plaintiff was seriously injured.

13.    Plaintiff, LIDIA L. KOLCHINSKY, suffered injuries to her leg, back, neck, head,

and other parts of her body. Plaintiff,      LIDIA L. KOLCHINSKY, has endured pain        and

suffering in the past and   will    have pain and suffering in the future; he has incurred and

will incur medical expenses, all as a result of the injuries received.



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14.   Plaintiff has lost work wages as a result of the injuries received.

      WHEREFORE, Plaintiff, LIDIA L. KOLCHINSKY, prays this Honorable Court:

         1.    That Plaintiff have and recover a judgment against Defendant, BILL

               BENTLEY TRUCKING LLC, in an amount in excess of SEVENTY-

               FIVE THOUSAND DOLLARS ($75,000.00) for personal injuries.

      2.       That the costs of this action be taxed against the Defendant.

      3.       For other and fuither relief as the Court may deem just and proper.

                                    JURY DEMAND

      PLEASE TAKE NOTICE that the Plaintiffs in the above-entitled action hereby

demand   atrial by   j*y
                                             Respectfully submitted,
                                             MARINA D. KOLCHINSKY and
                                             LIDIA L. KOLCHINSKY, Plaintiffs


                                             By:      s/ Todd R. Korb
                                                     Todd R. Korb
                                                     ATTY # 1026950
                                                     HUPY AND ABRAHAM, S.C.




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